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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                      March 02, 2021
                           UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

UNITED STATES OF AMERICA,             §
                                      §
      Plaintiff,                      §
                                      §
VS.                                   §           CIVIL ACTION NO. 7:20-cv-00154
                                      §
4.620 ACRES OF LAND, more or less, in §           Lead Case
HIDALGO COUNTY, TEXAS; and            §
FULLER FARMS,                         §
                                      §
      Defendants.                     §
UNITED STATES OF AMERICA,             §
                                      §
      Plaintiff,                      §
                                      §
VS.                                   §           CIVIL ACTION NO. 7:20-cv-00170
                                      §
8.570 ACRES OF LAND, more or less, in §           Member Case
HIDALGO COUNTY, TEXAS; and            §
FULLER FARMS,                         §
                                      §
      Defendants.                     §

                                           ORDER

           The Court now considers “Defendant’s Emergency Motion to Compel Plaintiff to

Adequately Respond to Discovery.”1 The Court’s extended deadline for all parties to designate

expert witnesses and provide expert reports is March 22, 2021.2 Defendant asserts that it served

interrogatories on Plaintiff on January 6, 2021, Plaintiff responded with only objections on

February 19th, and the parties attempted to resolve the dispute on February 24th but were




1
    Dkt. No. 39.
2
    Dkt. No. 36 at 4.


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unsuccessful.3 Five days later, Defendant filed the instant motion to compel Plaintiff to respond

to discovery, which Defendant designated an “emergency” because, under the ordinary operation

of Local Rule 7.3. the opposed motion will not be submitted to the Court until the same day the

expert reports are due.4

         In light of the foregoing circumstances, the Court ORDERS that Defendant’s emergency

motion will be submitted to the Court on March 11, 2021. Plaintiff’s response must be filed by

the submission day or the motion will be treated as unopposed. Defendant’s reply, if any, must

be filed no later than March 15, 2021 or it will not be considered.5

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 2nd day of March 2021.


                                                           ___________________________________
                                                                        Micaela Alvarez
                                                                   United States District Judge




3
  Dkt. No. 39 at 2, ¶¶ 3–4; see FED. R. CIV. P. 37(a)(1) (“On notice to other parties and all affected persons, a party
may move for an order compelling disclosure or discovery. The motion must include a certification that the movant
has in good faith conferred or attempted to confer with the person or party failing to make disclosure or discovery in
an effort to obtain it without court action.”).
4
  Dkt. No. 39 at 2, ¶ 4.
5
  Defendant’s motion to compel responses will be submitted to the Court for adjudication on March 11, 2021.
Defendant is not entitled to have its reply brief considered if the Court issues its order before the reply is filed.


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